                               NO. 07-10-0251-CR

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	OCTOBER 4, 2010
	______________________________

	JULIE MARIE ST. CLAIR, 

Appellant

	v.

	THE STATE OF TEXAS, 

Appellee
	_________________________________

	FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;

                   NO. 58,965-B; HON. JOHN BOARD., PRESIDING
                        _______________________________
                                       
                             Abatement and Remand
                        _______________________________
                                       
Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
	Pending before us is a joint motion to abate the appeal and remand the matter back to the trial court so that findings of fact and conclusions of law can be filed.  The record reflects that appellant, timely, filed a request for findings of fact and conclusions of law.  However, none were ever filed.  In State v. Cullen, 195 S.W.3d 696, 699 (Tex. Crim. App. 2006), the Court of Criminal Appeals held that, "[u]pon the request of the losing party on a motion to suppress evidence, the trial court shall state its essential findings."  In Cullen, the Court explained that, the trial court's refusal to state its findings and conclusions prevented the court of appeals from a meaningful review of the decision to grant or deny the motion to suppress.  Id. at 698.
Accordingly, we abate the appeal and remand the matter back to the trial court.  See Tex. R. App. P. 44.4.  We further direct the Honorable John Board, judge of the 181st Judicial District Court, Potter County, Texas, to execute findings of fact and conclusions of law in this cause as required by State v. Cullen, supra.  We also direct him to execute his findings and conclusions and file them with the clerk of this court, via a supplemental clerk's record, on or before November 3, 2010.  Upon the filing of the supplemental clerk's record containing the findings and conclusions, the appeal will be reinstated.
It is so ordered.
Per Curiam
